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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                         )
    In re:                                                               )    Chapter 11
                                                                         )
    CELSIUS NETWORK LLC, et al.,1                                        )    Case No. 22-10964 (MG)
                                                                         )
                                                Debtors.                 )     (Jointly Administered)
                                                                         )

                           AGENDA FOR HEARING TO BE HELD
                 MAY 17, 2023, AT 10:00 A.M. (PREVAILING EASTERN TIME)

Time and Date of Hearing: May 17, 2023, at 10:00 a.m. (prevailing Eastern Time)

Location of Hearing:                 The Honorable Chief Judge Martin Glenn
                                     United States Bankruptcy Court for the
                                     Southern District of New York
                                     Alexander Hamilton U.S. Custom House
                                     One Bowling Green, Courtroom No. 523
                                     New York, New York 10004

Hearing Attendance:                  In accordance with General Order M-543 (“General Order
Instructions:                        M-543”), dated March 20, 2020, the Hearing will only be conducted
                                     using Zoom for Government. Parties wishing to appear at the
                                     Hearing, whether making a “live” or “listen only” appearance
                                     before the Court, need to make an electronic appearance through

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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
      LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8 USA LLC
      (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
                           the                Court’s                website           at
                           https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl on or
                           before 4:00 p.m. (prevailing Eastern Time) on May 16, 2023.

                           Due to the large number of expected participants in the Hearing and
                           the Court’s security requirements for participating in a Zoom for
                           Government audio and video hearing, all persons seeking to attend
                           the 10:00 a.m., May 17, 2023 (prevailing Eastern Time) Hearing
                           must connect to the Hearing beginning at 9:00 a.m.,
                           May 17, 2023 (prevailing Eastern Time). When parties sign into
                           Zoom for Government and add their names, they must type in the
                           first and last name that will be used to identify them at the
                           Hearing. Parties that type in only their first name, a nickname or
                           initials will not be admitted into the Hearing. When seeking to
                           connect for either audio or video participation in a Zoom for
                           Government Hearing, you will first enter a “Waiting Room,” in the
                           order in which you seek to connect. Court personnel will admit
                           each person to the Hearing from the Waiting Room after confirming
                           the person’s name (and telephone number, if a telephone is used to
                           connect) with their eCourtAppearance. Because of the large
                           number of expected participants, you may experience a delay in the
                           Waiting Room before you are admitted to the Hearing.

Copies of Motions:         A copy of each pleading may be obtained free of charge by visiting
                           the website of Stretto at https://cases.stretto.com/Celsius. You may
                           also obtain copies of any pleadings by visiting the Court’s website
                           at http://www.nysb.uscourts.gov in accordance with the procedures
                           and fees set forth therein.

I.    Company Status Update.

      1.     Status Update. Status Update provided by Christopher Ferraro, Interim Chief
             Executive Officer, Chief Restructuring Officer, and Chief Financial Officer of the
             Debtors.

             Related Documents: None.

II.   Contested Matters.

      2.     Motion for Witness Cooperation Agreements. Debtors’ Motion Seeking Entry
             of an Order (I) Authorizing the Debtors to Enter into Witness Cooperation
             Agreements with Certain Current and Former Employees, (II) Authorizing
             Reimbursement of Past and Future Out-of-Pocket Expenses of Cooperating
             Witnesses, Including Attorney’s Fees, and (III) Granting Related Relief
             [Docket No. 2147].

             Objection Deadline: March 14, 2023, at 4:00 p.m. (prevailing Eastern Time).

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Responses Received:

(1)   Response to Debtors’ Motion Seeking Order (I) Authorizing the Debtors to
      Enter into Witness Cooperation Agreements, (II) Authorizing
      Reimbursement of Past and Future Out of Pocket Expenses of Cooperating
      Witnesses and (III) Granting Related Relief [Docket No. 2223].

(2)   Official Committee of Unsecured Creditors’ Objection to the Debtors’
      Motion Seeking Entry of an Order (I) Authorizing the Debtors to Enter into
      Witness Cooperation Agreements with Certain Current and Former
      Employees, (II) Authorizing Reimbursement of Past and Future
      Out-of-Pocket Expenses of Cooperating Witnesses, Including Attorney’s
      Fees, and (III) Granting Related Relief [Docket No. 2227].

(3)   Objection of the United States Trustee to Debtors’ Motion for an Order
      (I) Authorizing the Debtors to Enter into Witness Cooperation Agreements
      with Certain Current and Former Employees, (II) Authorizing
      Reimbursement of Past and Future Out-of-Pocket Expenses of Cooperating
      Witnesses, Including Attorney’s Fees, and (III) Granting Related Relief
      [Docket No. 2230].

(4)   Joinder to Response to Debtors’ Motion Seeking Order (I) Authorizing the
      Debtors to Enter into Witness Cooperation Agreements, (II) Authorizing
      Reimbursement of Past and Future out of Pocket Expenses of Cooperating
      Witnesses and (III) Granting Related Relief [Docket No. 2395].

Related Documents:

(1)   Notice of Adjournment of Hearing on the Debtors’ Motion Seeking Entry
      of an Order (I) Authorizing the Debtors to Enter into Witness Cooperation
      Agreements with Certain Current and Former Employees, (II) Authorizing
      Reimbursement of Past and Future Out-of-Pocket Expenses of Cooperating
      Witnesses, Including Attorney’s Fees, and (III) Granting Related Relief
      [Docket No. 2269].

(2)   Second Notice of Adjournment of Hearing on the Debtors’ Motion Seeking
      Entry of an Order (I) Authorizing the Debtors to Enter into Witness
      Cooperation Agreements with Certain Current and Former Employees,
      (II) Authorizing Reimbursement of Past and Future Out-of-Pocket
      Expenses of Cooperating Witnesses, Including Attorney’s Fees, and
      (III) Granting Related Relief [Docket No. 2341].

(3)   Third Notice of Adjournment of Hearing on the Debtors’ Motion Seeking
      Entry of an Order (I) Authorizing the Debtors to Enter into Witness
      Cooperation Agreements with Certain Current and Former Employees,
      (II) Authorizing Reimbursement of Past and Future Out-Of-Pocket
      Expenses of Cooperating Witnesses, Including Attorney’s Fees, and
      (III) Granting Related Relief [Docket No. 2393].
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     (4)       Order Adjourning the Application of Connor Nolan and the Debtors’
               Motion to Enter into Witness Cooperation Agreements [Docket No. 2441].

     (5)       Notice of Adjournment [Docket No. 2520].

     (6)       Notice of Filing of Revised Proposed Order (I) Authorizing the Debtors to
               Enter into Witness Cooperation Agreements with Certain Current and
               Former Employees, (II) Authorizing Reimbursement of Past and Future
               Out-of-Pocket Expenses of Cooperating Witnesses, Including Attorney’s
               Fees, and (III) Granting Related Relief [Docket No. 2643].

     Status:      This matter is going forward.

3.   Application for Reimbursement. Application of Connor Nolan Pursuant to
     11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for Allowance and Payment of
     Professional Fees and Expenses Incurred in Making a Substantial Contribution
     [Docket No. 2045].

     Objection Deadline: The initial objection deadline was April 11, 2023, at 4:00 p.m.
     (prevailing Eastern Time). The objection deadline was extended for the Official
     Committee of Unsecured Creditors to May 10, 2023, at 4:00 p.m. (prevailing
     Eastern Time).

     Responses Received:

     (1)       Statement of the United States Trustee in Response to the Application of
               Connor Nolan Pursuant to 11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for
               Allowance and Payment of Professional Fees and Expenses Incurred in
               Making a Substantial Contribution [Docket No. 2434].

     (2)       Objection of the United States Trustee to the Application of Connor Nolan
               Pursuant to 11 U.S.C. §§ 503(B)(3)(D) and 503(B)(4) for Allowance and
               Payment of Professional Fees and Expenses Incurred in Making a
               Substantial Contribution [Docket No. 2599].

     (3)       The Official Committee of Unsecured Creditors’ Objection to Application
               of Connor Nolan Pursuant to 11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for
               Allowance and Payment of Professional Fees and Expenses Incurred in
               Making a Substantial Contribution [Docket No. 2616].

     Related Documents:

     (1)       Letter Request to Extend Deadline to Object to Motion for Reimbursement
               [Docket No. 2373].

     (2)       Memorandum Endorsed Order Granting Letter Request to Extend Deadline
               to Object to Motion for Reimbursement [Docket No. 2374].


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     (3)       Letter Request to Extend Deadline to Object to Motion for Reimbursement
               [Docket No. 2382].

     (4)       Memorandum Endorsed Order Granting Letter Request to Extend Deadline
               to Object to Motion for Reimbursement [Docket No. 2386].

     (5)       Order Adjourning the Application of Connor Nolan and the Debtors’
               Motion to Enter into Witness Cooperation Agreements [Docket No. 2441].

     (6)       Notice of Adjournment [Docket No. 2520].

     Status:      This matter is going forward.

4.   Motion for Stay. Customer-Appellants’ Motion for a Stay Pending Appeal of the
     Order Regarding Which Debtor Entities Have Liability for Customer Contract
     Claims Under the Terms of Use Pursuant to Federal Rule of Bankruptcy Procedure
     8007 [Docket No. 2545].

     Objection Deadline: May 10, 2023, at 4:00 p.m. (prevailing Eastern Time).

     Responses Received:

     (1)       Series B Preferred Holders’ Statement Regarding the Customer-Appellants’
               Motion for a Stay Pending Appeal [Docket No. 2612].

     Related Documents:

     (1)       Notice of Appeal [Docket No. 2375].

     Status:      This matter is going forward.

5.   Motion to Investigate. Jason Amerson’s Motion for Entry of an Order (I) to
     Request the Court to Investigate if the Debtor and/or Debtor’s Legal Counsel Aided
     in Granting Financial Relief to an Unsecured Creditor After the February 9th, 2023
     Proof of Claim Bar Date Occurred, (II) to Request the Court to Remedy Any Clear
     Violations of Bankruptcy Law if Such Acts Are Found to Be True (III) Granting
     Related Relief [Docket No. 2252].

     Objection Deadline: The original objection deadline was set for April 15, 2023, at
     4:00 p.m. (prevailing Eastern Time). The objection deadline was extended to
     May 14th, 2023, at 4:00 p.m. (prevailing Eastern Time).

     Responses Received:

     (1)       Debtors’ Omnibus Objection to the Communications Motion and Amended
               Claim Motion [Docket No. 2615].




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     Related Documents:

     (1)       Amended Notice of Hearing on Jason Amerson’s Motion for Entry of an
               Order (I) to Request the Court to Investigate if the Debtor and/or Debtor’s
               Legal Counsel Aided in Granting Financial Relief to an Unsecured Creditor
               After the February 9th, 2023 Proof of Claim Bar Date Occurred, (II) to
               Request the Court to Remedy Any Clear Violations of Bankruptcy Law if
               Such Acts Are Found to Be True (III) Granting Related Relief
               [Docket No. 2330].

     (2)       Jason Amerson’s Amended Motion for Entry of an Order (I) to Request the
               Court to Investigate if the Debtor and/or Debtor’s Legal Counsel Aided in
               Granting Financial Relief to an Unsecured Creditor After the
               February 9th, 2023 Proof of Claim Bar Date Occurred, (II) to Request the
               Court to Remedy Any Clear Violations of Bankruptcy Law if Such Acts
               Are Found to Be True (III) Granting Related Relief [Docket No. 2333].

     (3)       Amended Notice of Hearing on Jason Amerson’s Motion for Entry of an
               Order (I) to Request the Court to Investigate if the Debtor and/or Debtor’s
               Legal Counsel Aided in Granting Financial Relief to an Unsecured Creditor
               After the February 9th, 2023 Proof of Claim Bar Date Occurred, (II) to
               Request the Court to Remedy Any Clear Violations of Bankruptcy Law if
               Such Acts Are Found to Be True (III) Granting Related Relief
               [Docket No. 2530].

     (4)       Amended Notice of Hearing on Jason Amerson’s Motion for Entry of an
               Order (I) to Request the Court to Investigate if the Debtor and/or Debtor’s
               Legal Counsel Aided in Granting Financial Relief to an Unsecured Creditor
               After the February 9th, 2023 Proof of Claim Bar Date Occurred, (II) to
               Request the Court to Remedy Any Clear Violations of Bankruptcy Law if
               Such Acts Are Found to Be True (III) Granting Related Relief
               [Docket No. 2532].

     Status:      This matter is going forward.

6.   Motion for Injunction. Jason Amerson’s Motion for Entry of an Order (I) to
     Request an Injunction or Sanction on Inappropriate Communications Between
     Debtor and Unsecured Creditor(s), (II) Granting Related Relief [Docket No. 2235].

     Objection Deadline: The original objection deadline was set for April 15, 2023, at
     4:00 p.m. (prevailing Eastern Time). The objection deadline was extended to May
     14th, 2023, at 4:00 p.m. (prevailing Eastern Time).

     Responses Received:

     (1)       Debtors’ Omnibus Objection to the Communications Motion and Amended
               Claim Motion [Docket No. 2615].


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             Related Documents:

             (1)       Jason Amerson’s Amended Motion for Entry of an Order (I) to Request an
                       Injunction or Sanction on Inappropriate Communications Between Debtor
                       and Unsecured Creditor, (II) Granting Related Relief [Docket No. 2314].

             (2)       Amended Notice of Hearing on Jason Amerson’s Motion for Entry of an
                       Order (I) to Request an Injunction or Sanction on Inappropriate
                       Communications Between Debtor and Unsecured Creditor, (II) Granting
                       Related Relief [Docket No. 2332].

             (3)       Amended Notice of Hearing on Jason Amerson’s Motion for Entry of an
                       Order (I) to Request an Injunction or Sanction on Inappropriate
                       Communications Between Debtor and Unsecured Creditor, (II) Granting
                       Related Relief [Docket No. 2532].

             Status:      This matter is going forward.

III.   Status Conferences.

       7.    Georgiou, et al. v. Celsius Network LLC, et al. (Adv. Proc. No. 23-01016).
             Pre-Trial Conference.

             Related Documents:

             (1)       Complaint [Docket No. 1].

             (2)       Summons with Notice of Pre-Trial Conference [Docket No. 2].

             (3)       Stipulation Extending Debtors’ Time to Answer [Docket No. 3].

             (4)       Notice of Adjournment [Docket No. 2431].

             (5)       Notice of Adjournment [Docket No. 4].

             (6)       Joint Stipulation and Agreed Order by and Among the Debtors and
                       Plaintiffs [Docket No. 5].

             (7)       Joint Stipulation and Agreed Order by and Among the Debtors and
                       Plaintiffs Signed on 5/3/2023 [Docket No. 6].

             Status:      This matter is going forward.

       8.    Herrmann v. Celsius Network LLC, et al. (Adv. Proc. No. 23-01025). Pre-Trial
             Conference.

             Related Documents:

             (1)       Complaint for Declaratory Judgment [Docket No. 1].

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     (2)       Summons and Notice of Pre-Trial Conference [Docket No. 2].

     (3)       Joint Stipulation and Agreed Order by and Among the Debtors, Daniel
               Frishberg and Immanuel Herrmann Staying Deadlines [Docket No. 3].

     (4)       Joint Stipulation and Agreed Order Signed on 4/21/2023 by and Among the
               Debtors, Daniel Frishberg and Immanuel Herrmann Staying Deadlines
               [Docket No. 5].

     Status:      This matter is going forward.

9.   Frishberg v. Celsius Network LLC, et al. (Adv. Proc. No. 22-01179). Pre-Trial
     Conference.

     Related Documents:

     (1)       Complaint [Docket No. 1].

     (2)       Summons with Notice of Pre-Trial Conference [Docket No. 2].

     (3)       Second Summons with Notice of Pre-Trial Conference [Docket No. 16].

     (4)       Daniel A. Frishberg’s Demand for a Trial by Jury Under Rule 38
               [Docket No. 17].

     (5)       Amended Complaint [Docket No. 18].

     (6)       Joint Stipulation and Agreed Order by and Among the Debtors and Daniel
               Frishberg Regarding Debtors’ Time to Respond to Mr. Frishberg’s
               Complaint [Docket No. 21].

     (7)       Joint Stipulation and Agreed Order by and Among the Debtors, Daniel
               Frishberg and Immanuel Herrmann Staying Deadlines [Docket No. 22].

     (8)       Joint Stipulation and Agreed Order Signed on 4/21/2023 by and Among the
               Debtors, Daniel Frishberg and Immanuel Herrmann Staying Deadlines
               [Docket No. 24].

     (9)       Notice of Adjournment [Docket No. 26].

     (10)      Notice of Status Conference [Docket No. 27].

     Status:      This matter is going forward.




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10.   Core Scientific Dispute. Status Conference on Celsius/Core Scientific Dispute.

      Related Documents:

      (1)    Debtors’ Motion to Enforce the Automatic Stay and for Civil Contempt
             [Docket No. 917].

      (2)    Letter re Request for Status Conference Concerning In re Celsius Network
             LLC, Chapter 11 Case No. 22-10964 (MG) [Docket No. 997].

      (3)    Letter in Response to Core Scientific re In re Celsius Network LLC,
             No. 22-10964 (MG) – Debtors’ Motion to Enforce the Stay and for
             Contempt Sanctions [Docket No. 1003].

      (4)    Joint Stipulation and Agreed Scheduling Order by and Among the Debtors,
             the Official Committee of Unsecured Creditors, and Core Scientific, Inc.
             With Respect to Schedule [Docket No. 1114].

      (5)    Ex-parte Motion of Core Scientific, Inc. for Entry of an Order Authorizing
             Redaction of Certain Information and Filing of Certain Documents Under
             Seal Pursuant to Section 107(b) of the Bankruptcy Code, Rule 9018 of the
             Federal Rules of Bankruptcy Procedure, and Local Bankruptcy Rule 9018-1
             in Connection With Core Scientific, Inc.’s Forthcoming Objection to
             Debtors’ Motion to Enforce the Automatic Stay and for Civil Contempt and
             Core Scientific, Inc.’s Motion Seeking Affirmative Relief
             [Docket No. 1130].

      (6)    Declaration of Todd Duchene in Support of Core Scientific, Inc.’s Motion
             for Entry of an Order Authorizing Redaction of Certain Information and
             Filing of Certain Documents Under Seal Pursuant to Section 107(b) of the
             Bankruptcy Code, Rule 9018 of the Federal Rules of Bankruptcy Procedure
             and Local Bankruptcy Rule 9018-1 in Connection With Core Scientific,
             Inc.’s Forthcoming Objection to Debtors’ Motion to Enforce the Automatic
             Stay and for Civil Contempt and Core Scientific, Inc.’s Motion Seeking
             Affirmative Relief [Docket No. 1132].

      (7)    Order Authorizing Redaction of Certain Information and Filing of Certain
             Documents Under Seal Pursuant to Section 107(b) of the Bankruptcy Code,
             Rule 9018 of the Federal Rules of Bankruptcy Procedure, and Local
             Bankruptcy Rule 9018-1 in Connection With Core Scientific, Inc.’s
             Forthcoming Objection to Debtors’ Motion to Enforce the Automatic Stay
             and for Civil Contempt and Core Scientific, Inc.’s Motion Seeking
             Affirmative Relief [Docket No. 1133].

      (8)    The Official Committee of Unsecured Creditors’ Joinder to the Debtors’
             Motion to Enforce the Automatic Stay and for Civil Contempt [Docket No.
             1139].


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(9)       Core Scientific, Inc.’s Objection to Debtors’ Motion to Enforce the
          Automatic Stay and for Civil Contempt [Docket No. 1140].

(10)      Declaration of Jeff Pratt in Support of Core Scientific, Inc.’s Opposition to
          Debtors’ Motion to Enforce the Automatic Stay and For Civil Contempt
          [Docket No. 1141].

(11)      Declaration of Monica Xia in Support of Core Scientific, Inc.’s Opposition
          to Debtors’ Motion to Enforce the Automatic Stay and for Civil Contempt
          [Docket No. 1142].

(12)      Declaration of KC Mares [Docket No. 1143].

(13)      Motion of Core Scientific, Inc. (I) to Compel Immediate Payment of
          Administrative Expenses and (II) (A) for Relief from Automatic Stay to
          Exercise Rights Under Master Services Agreement and Related Orders or
          (B) in the Alternative, to Compel Assumption or Rejection of Master
          Services Agreement and Related Orders [Docket No. 1144].

(14)      Letter re In re Celsius Network LLC, No. 22-10964 (MG) – Request for
          Informal Conference With the Court, Pursuant to Local Rule 7007-1(b)
          [Docket No. 1182].

(15)      Letter re In re Celsius Network LLC, No. 22-10964 (MG) – Response to
          Request for Informal Conference With the Court, Pursuant to Local Rule
          7007-1(b) [Docket No. 1200].

(16)      Joint Stipulation and Agreed Amended Scheduling Order by and Among
          the Debtors, the Official Committee of Unsecured Creditors, and Core
          Scientific, Inc. With Respect to Schedule [Docket No. 1283].

(17)      Order Scheduling Status Conference Regarding Core Scientific Motions
          [Docket No. 1366].

(18)      Notice of Adjournment [Docket No. 1694].

(19)      Notice of Adjournment [Docket No. 1841].

(20)      Notice of Adjournment [Docket No. 1907].

(21)      Notice of Adjournment [Docket No. 2055].

(22)      Notice of Adjournment [Docket No. 2181].

(23)      Notice of Adjournment [Docket No. 2413].

Status:      This matter is going forward.



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IV.   Adjourned Matters.

      11.   Christopher Lee Shanks v. Celsius Network                         LLC,    et    al.
            (Adv. Proc. No. 23-01010). Pre-Trial Conference.

            Related Documents:

            (1)       Complaint for Declaratory Judgment [Docket No. 1].

            (2)       Amended Complaint for Declaratory Judgment [Docket No. 4].

            (3)       Summons with Notice of Pre-Trial Conference [Docket No. 5].

            (4)       Letter Request for Subsequent Summons [Docket No. 6].

            (5)       Second Summons and Notice of Pre-Trial Conference [Docket No. 7].

            (6)       Debtors’ Motion to Dismiss the Amended Complaint and Incorporated
                      Memorandum of Law [Docket No. 9].

            (7)       Notice of Adjournment [Docket No. 11].

            Status:      This matter has been adjourned to June 28, 2023, at 10:00 a.m.
                         (prevailing Eastern Time).

      12.   Fred Shanks v. Celsius Network LLC, et al. (Adv. Proc. No. 22-01190). Hearing
            on Debtors’ Motion to Dismiss.

            Related Documents:

            (1)       Debtors’ Motion to Dismiss the Amended Complaint and Incorporated
                      Memorandum of Law [Docket No. 17].

            (2)       Objection on Debtors’ Motion to Dismiss of Claim No. 22-01190 of Fred
                      M. Shanks [Docket No. 18].

            (3)       Notice of Adjournment [Docket No. 19].

            Status:      This matter has been adjourned to June 28, 2023, at 10:00 a.m.
                         (prevailing Eastern Time).

      13.   Key Employee Incentive Plan. Debtors’ Motion for Entry of an Order
            (I) Approving the Debtors’ Key Employee Incentive Program and (II) Granting
            Related Relief [Docket No. 2336].

            Objection Deadline: The initial objection deadline was April 11, 2023, at 4:00 p.m.
            (prevailing Eastern Time). The objection deadline was extended for the U.S.
            Trustee to April 14, 2023, at 4:00 p.m. (prevailing Eastern Time). The objection


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deadline was also extended for the Official Committee of Unsecured Creditors to
May 10, 2023, at 4:00 p.m. (prevailing Eastern Time).

Responses Received:

(1)    Objection to the Debtors’ Motion for Entry of an Order (I) Approving the
       Debtors’ Key Employee Incentive Program and (II) Granting Related Relief
       [Docket No. 2408].

(2)    Víctor Ubierna de las Heras Objection to Debtors’ Motion for Entry of an
       Order (I) Approving the Debtors’ Key Employee Incentive Program and
       (II) Granting Related Relief (Dk. 2336) [Docket No. 2409].

(3)    Objection to the Debtors’ Motion for Entry of an Order (I) Approving the
       Debtors’ Key Employee Incentive Program and (II) Granting Related Relief
       [Docket No. 2410].

(4)    Objection to the Debtors’ Motion for Entry of an Order (I) Approving the
       Debtors’ Key Employee Incentive Program and (II) Granting Related Relief
       [Docket No. 2411].

(5)    Objection of the United States Trustee to Motion of Debtors for Entry of
       Order Approving Debtors’ Key Employee Incentive Plan
       [Docket No. 2430].

(6)    Supplemental Statement Regarding the Debtors’ So-Called “KEIP” (That
       Is Really a KERP) and Joinder to the United States Trustee’s Objection and
       Other Objections to the Same [Docket No. 2481].

Related Documents:

(1)    Declaration of Allison Hoeinghaus in Support of Debtors’ Motion for Entry
       of an Order (I) Approving the Debtors’ Key Employee Incentive Plan and
       (II) Granting Related Relief [Docket No. 2337].

(2)    Letter Request re Extension of Deadline to Object to Debtors’ KEIP Motion
       [Docket No. 2340].

(3)    Memorandum Endorsed Order Granting Letter Request re Extension of
       Deadline to Object to Debtors’ KEIP Motion [Docket No. 2343].

(4)    Notice of Status Conference Regarding the Debtors’ Motion for Entry of an
       Order (I) Approving the Debtors’ Key Employee Incentive Program and
       (II) Granting Related Relief [Docket No. 2397].

(5)    Letter Request re Extension of Deadline to Object to Debtors’ KEIP Motion
       [Docket No. 2401].


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      (6)       Memorandum Endorsed Order Granting Letter Request re Extension of
                Deadline to Object to Debtors’ KEIP Motion [Docket No. 2404].

      (7)       Letter Request to Extend Deadline to Object to Key Employee Incentive
                Plan [Docket No. 2613].

      (8)       Notice of Adjournment [Docket No. 2614].

      (9)       Memorandum Endorsed Order Granting Letter Request re Extension of
                Deadline to Object to Debtors’ KEIP Motion [Docket No. 2618].

      Status:      This matter has been adjourned to June 28, 2023, at 10:00 a.m.
                   (prevailing Eastern Time).

14.   Caceres Motion for Valuation of CEL Token. Santos Caceres’ Motion for Entry
      of an Order (I) to Dollarize Non-Insider CEL Token Claims at the Petition Date
      Price of $0.81565; if Otherwise, (II) Request the Debtors to Submit Evidence
      Supporting Inequitable Treatment of Unsecured Creditors in the Earn Group
      (III) Granting Related Relief [Docket No. 2169].

      Objection Deadline: The initial objection deadline was March 18, 2023, at
      10:00 a.m. (prevailing Eastern Time). The objection deadline was extended to
      May 14, 2023, at 4:00 p.m. (prevailing Eastern Time). The objection deadline was
      extended a second time for the Debtors and the Official Committee of Unsecured
      Creditors to June 21, 2023, at 4:00 p.m. (prevailing Eastern Time).

      Responses Received: None.

      Related Documents:

      (1)       Santos Caceres’ Amended Motion for Entry of an Order (I) to Dollarize
                Non-Insider CEL Token Claims at the Petition Date Price of $0.81565; if
                Otherwise, (II) Request the Debtors to Submit Evidence Supporting
                Inequitable Treatment of Unsecured Creditors in the Earn Group
                (III) Granting Related Relief [Docket No. 2208].

      (2)       Amended Notice of Hearing on Santos Caceres’ Motion for Entry of an
                Order (I) to Dollarize Non-Insider CEL Token Claims at the Petition Date
                Price of $0.81565; if Otherwise, (II) Request the Debtors to Submit
                Evidence Supporting Inequitable Treatment of Unsecured Creditors in the
                Earn Group (III) Granting Related Relief [Docket No. 2215].

      (3)       Santos Caceres’ Second Amended Motion for Entry of an Order (I) to
                Dollarize Non-Insider CEL Token Claims at the Petition Date Price of
                $0.81565; if Otherwise, (II) Request the Debtors to Submit Evidence




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                Supporting Inequitable Treatment of Unsecured Creditors in the Earn
                Group (III) Granting Related Relief [Docket No. 2240].

      (4)       Amended Notice of Hearing on Santos Caceres’ Second Amended Motion
                for Entry of an Order (I) to Dollarize Non-Insider CEL Token Claims at the
                Petition Date Price of $0.81565; if Otherwise, (II) Request the Debtors to
                Submit Evidence Supporting Inequitable Treatment of Unsecured Creditors
                in the Earn Group (III) Granting Related Relief [Docket No. 2241].

      (5)       Order Adjourning the Motion of Santos Caceres [Docket No. 2260].

      (6)       Amended Notice of Hearing on Santos Caceres’ Second Amended Motion
                for Entry of an Order (I) to Dollarize Non-Insider CEL Token Claims at the
                Petition Date Price of $0.81565; if Otherwise, (II) Request the Debtors to
                Submit Evidence Supporting Inequitable Treatment of Unsecured Creditors
                in the Earn Group (III) Granting Related Relief [Docket No. 2329].

      (7)       Letter Request to Extend Deadline to Object for the Official Committee of
                Unsecured Creditors [Docket No. 2593].

      (8)       Letter Request to Extend Deadline to Object for the Debtors
                [Docket No. 2601].

      (9)       Memorandum Endorsed Order Granting Letter Request to Extend Deadline
                to Object [Docket No. 2610].

      Status:      This matter has been adjourned to June 28, 2023, at 10:00 a.m.
                   (prevailing Eastern Time).

15.   StJohn Motion for Valuation of CEL Token. Sean StJohn’s Motion for Entry of
      an order (I) to Dollarize Non-Insider CEL Token Claims at the Petition Date Price
      of $0.81565; if Otherwise, (II) Request the Debtors to Submit Evidence Supporting
      Inequitable Treatment of Unsecured Creditors in the Earn Group (III) Granting
      Related Relief [Docket No. 2216].

      Objection Deadline: The initial objection deadline was May 14, 2023, at 4:00 p.m.
      (prevailing Eastern Time). The objection deadline was extended for the Debtors
      and the Official Committee of Unsecured Creditors to June 21, 2023, at 4:00 p.m.
      (prevailing Eastern Time).

      Responses Received: None.

      Related Documents:

      (1)       Notice of Hearing on Sean StJohn’s Motion for Entry of an order (I) to
                Dollarize Non-Insider CEL Token Claims at the Petition Date Price of
                $0.81565; if Otherwise, (II) Request the Debtors to Submit Evidence


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                     Supporting Inequitable Treatment of Unsecured Creditors in the Earn
                     Group (III) Granting Related Relief [Docket No. 2327].

           (2)       Letter Request to Extend Deadline to Object for the Official Committee of
                     Unsecured Creditors [Docket No. 2593].

           (3)       Letter Request to Extend Deadline to Object for the Debtors
                     [Docket No. 2601].

           (4)       Memorandum Endorsed Order Granting Letter Request to Extend Deadline
                     to Object [Docket No. 2610].

           Status:      This matter has been adjourned to June 28, 2023, at 10:00 a.m.
                        (prevailing Eastern Time).

V.   Withdrawn Matters.

     16.   Motion to Expedite. Customer-Appellants’ Motion to Expedite Transmittal of the
           Record on Appeal to the District Court Judge [Docket No. 2546].

           Objection Deadline: May 10, 2023, at 4:00 p.m. (prevailing Eastern Time).

           Responses Received: None.

           Related Documents:

           (1)       Notice of Appeal [Docket No. 2375].

           (2)       Customer-Appellants’ Motion for a Stay Pending Appeal of the Order
                     Regarding Which Debtor Entities Have Liability for Customer Contract
                     Claims Under the Terms of Use Pursuant to Federal Rule of Bankruptcy
                     Procedure 8007 [Docket No. 2545]

           (3)       Notice of Withdrawal of Customer-Appellants’ Motion to Expedite
                     Transmittal of the Record on Appeal to the District Court
                     [Docket No. 2608].

           Status:      This matter has been withdrawn.



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New York, New York    /s/ Joshua A. Sussberg
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